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                  UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: NATIONAL FOOTBALL                      §        No. 2:12-md-02323-AB
  LEAGUE PLAYERS’ CONCUSSION                    §
  INJURY LITIGATION                             §                 MDL No. 2323
                                                §
                                                §           Hon. Anita B. Brody
  CLAIMS      FOR    SPID        950011814,     §
  950011815,    950011818,       950011819,     §
  950011820,    950011821,       950011822,     §
  950013154,    950013174,       950013176,     §
  950013178,    950013179,       950013223,     §
  950013403,    950013520,       950013523,
  950013608, 950013171
                      [PROPOSED] ORDER
    GRANTING CLASS MEMBERS’ MOTION TO ALTER OR AMEND THE
     ORDER THAT THE OBJECTIONS OF THE CLASS MEMBERS ARE
                       DENIED [ECF 12001]

      AND NOW, this ___ day of ____________, 2023, upon consideration of

Class Members SPID 950011814, 950011815, 950011818, 950011819, 950011820,

950011821, 950011822, 950013154, 950013174, 950013176, 950013178,

950013179, 950013223, 950013403, 950013520, 950013523, 950013608, and

950013171 (“Class Members”) Motion to Alter or Amend the Order that the

Objections of the Class members are Denied [ECF 12001] (“Order”), the Court finds

that the Motion has merit and is GRANTED. It is hereby ORDERED that:

      1.    The Order is amended to reflect that the Court sustains Class Members’

objection that the Claims Administrator erred in concluding that their CTE
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diagnoses were not timely.

      2.    The Order is altered to reflect that that the Claims Administrator erred

in requiring Class Members to provide the board-certified neuropathologist who

provided the CTE diagnoses with exhumed brain tissue to confirm his diagnosis.

      3.    It is further ordered that the Class Members’ claims are remanded to

the Special Master. The Special Master is instructed to return the claims to the

Claims Administrator to process payment of the claims.



SO ORDERED this _____ day of __________, 2023.



                                         _____________________________
                                         Anita B. Brody
                                         United States District Court Judge




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